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E-MAIL: rjc@dhclegal.com
                                                                     February 18, 2021



           Via E-Mail

           Honorable Analisa Torres
           United States District Judge
           Southern District of New York
           United States Courthouse
           500 Pearl Street
           New York, New York 10007-1312

                           Re:   United States v. Kolfage, et al., 20-cr-0412

           Dear Judge Torres:

                      I represent Stephen Bannon, who until recently was a named defendant in the
           above captioned case. On February 11, 2021, this Court entered Docket Number 79, a
           recitation of the full and unconditional pardon granted by the President of the United
           States and signed by the Acting Pardon Attorney on the President’s behalf.

                     I write to ask the Court to enter a further Order, clarifying Mr. Bannon’s current
           status. The Docket Report does not indicate that any counts against Mr. Bannon have
           been terminated and he is no longer a defendant in the case. Specifically, I would ask
           that the Court enter an order dismissing the above captioned Indictment as to Mr.
           Bannon and to recite that his bail and bail conditions have been exonerated.

                     Mr. Bannon currently has a lien in the amount of $1.75 Million dollars against
           property he owns in Laguna Beach, California and we have been informed that without
           an explicit order exonerating his bail and bail conditions, the lien cannot be satisfied or
           expunged. The people who placed the lien on the property, in order to secure Mr.
           Bannon’s bail, state that they can do nothing, until the Court enters an order
           exonerating bail for Mr. Bannon. Assistant United States Attorney Nicolas Roos, is
           without the power to do anything to assist in this regard. He has however, consented to
           the order exonerating bail, and he has indicated that he might wish to be heard
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    Honorable Analisa Torres
    United States District Judge
    February 18, 2021
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    regarding the entry of an order dismissing the Indictment as to Mr. Bannon. I am
    copying Mr. Roos on this letter request.

                                               Respectfully submitted,


                                               /Robert J. Costello/
                                               Robert J. Costello
                                               Counsel for Stephen Bannon

    RJC


    cc: Nicolas Roos
        Assistant United States Attorney
        Southern District of New York
